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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

LAJUANA HOOD-NEALEY,                         )
                                             )
                                             )
       Plaintiff,                            )
                                             )      Civil Action File
v.                                           )      No. 1:15-cv-04285-AT
                                             )
ACCENTCARE, INC., AND,                       )
GUARDIAN HOME CARE, LLC,                     )
                                             )
       Defendants.                           )
                                             )

     ORDER APPROVING JOINT MOTION TO APPROVE SETTLEMENT

       This matter is before the Court on the Parties’ Joint Motion to Approve

Settlement. Having read and considered the Parties’ Motion, the Court finds that

the proposed settlement agreement is fair and reasonable resolution of Plaintiff’s

FLSA claims.

       It is hereby ORDERED that the settlement of Plaintiff’s claims is

APPROVED and Plaintiff’s claims are DISMISSEDWITH PREJUDICE.


SO ORDERED, this 1st day of March, 2016.


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                                JUDGE AMY TOTENBERG
                                UNITED STATES DISTRICT JUDGE
